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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

FORD MOTOR CREDIT COMPANY LLC,             §
     Plaintiff,                            §
                                           §
                                           §
v.                                         §   Civil Action No.: 5:18-cv-00186
                                           §
BART REAGOR AND RICK DYKES,                §
     Defendants.                           §

             DEFENDANTS’ RESPONSE AND BRIEF IN OPPOSITION
             TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


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       Defendants Bart Reagor (“Reagor”) and Rick Dykes (“Dykes”) file this Response

in Opposition to Plaintiff’s Motion for Summary Judgment (the “Motion”).

                                      I.
                            PRELIMINARY STATEMENT

       Federal Courts often refer to suits on promissory notes as “fit grist for the

summary judgment mill.” This, however, is not such a case despite Ford Motor Credit

Company’s (“FMCC”) efforts to convince the Court otherwise. The agreements at issue

do not contain principal amounts or interest rates to establish any amounts owed. FMCC

instead resorts to relying on the declaration of an employee who (1) makes many

significant statements that are not based upon his personal knowledge, and (2) provides

no explanation, calculations or supporting documents for his damages figures. FMCC’s

Motion should be denied for those reasons alone. The Court should also deny FMCC’s

Motion because Reagor and Dykes have presented competent summary judgment

evidence showing that there is a genuine issue of material fact on liability with respect to

out of trust sales and damages.

                                  II.
                         ARGUMENT AND AUTHORITIES

A.     Legal Standard

       Rule 56(c) of the Federal Rules of Civil Procedure allows summary judgment only

where there is no genuine issue as to any material fact and the moving party is entitled to

summary judgment as a matter of law. FED. R. CIV. P. 56(c). All reasonable doubts and

inferences must be decided in the light most favorable to the party opposing the motion.

Thornbrough v. Columbus & Greenville R.R. Co., 760 F.2d 633, 640 (5th Cir. 1985).

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Indeed, as long as there appears to be some evidentiary support for the disputed

allegations, the motion must be denied. See Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248–49, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986); Coke v. General Adjustments

Bureau, 640 F.2d 584, 595 (5th Cir. 1981) (en banc).

          The party moving for summary judgment bears the initial burden of identifying

those portions of the pleadings, depositions, answers to interrogatories, and admissions

on file, together with affidavits, if any, which it believes demonstrate the absence of a

genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct.

2548, 91 L.Ed.2d 265 (1986). Where the nonmoving party bears the burden of proof on a

claim upon which summary judgment is sought, the moving party may discharge its

summary judgment burden by showing that there is an absence of evidence to support the

nonmoving party’s case. Id. at 325. Once the moving party satisfies this burden, the

nonmoving party may then oppose the motion by going beyond the pleadings and by its

own affidavits or by depositions, answers to interrogatories, and admissions on file to

designate specific facts showing a genuine issue for trial. Id. at 324; Anderson, 477 U.S.

at 256.

B.        FMCC fails to submit competent summary judgment regarding alleged
          defaults.

          FMCC has not properly proven all elements of its case. Namely, FMCC fails to

establish competent summary judgment evidence regarding liability because it relies

solely on an inadmissible affidavit to show the occurrence of conditions upon which




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liability is based. Federal Rule of Civil Procedure 56(e) prescribes the nature of evidence

that may be submitted for consideration on a motion for summary judgment as follows:

       Supporting and opposing affidavits shall be made on personal knowledge,
       shall set forth such facts as would be admissible in evidence, and shall
       show affirmatively that the affiant is competent to testify to the matter
       stated therein. Sworn or certified copies of all papers or parts thereof
       referred to in the affidavit shall be attached thereto and served therewith.
       The court may permit affidavits to be supplemented or opposed by
       depositions, answers to interrogatories or further affidavits.

Fed. R. Civ. P. 56(e).

       By the plain language of the Rule, a court cannot consider affidavits that are not

made upon the personal knowledge of an affiant competent to testify to the matters stated

and setting forth facts that would be admissible in evidence at trial. Garcia Estrada v.

Dretke, C.A. No. C-04-687, 2007 WL 999514 *5 (S.D. Tex. March 29, 2007). Affidavits

based on hearsay are improper summary judgment evidence, as are those based on

conclusory statements or unsubstantiated assertions. Id.; see also Tucker v. SAS Institute,

462 F. Supp.2d 715, 721 (N.D. Tex. 2006) (stating “neither conclusory allegations nor

unsubstantiated assertions will satisfy the nonmovant’s summary judgment burden”);

Gazda v. Pioneer Chlor Alkali Co., 10 F.Supp.2d 656, 668 (S.D. Tex. 1997) (affirming

that “a plaintiff may not rely on merely conclusory assertions of personal opinion in

affidavit to defeat summary judgment”). Those portions of affidavits that do not comply

with these requirements are entitled to no weight. Williamson v. U.S. Dept. of

Agriculture, 815 F.2d 368 (5th Cir. 1987).




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        1.    Rene Leal has no personal knowledge of matters addressed in
              paragraphs 31-46 of his declaration.

        To establish liability, FMCC relies on the declaration of Rene Leal, who is the

Financial Services Manager for the Central Market Area for FMCC. Leal claims that his

declaration is based on his “review of certain records of Ford Credit, [his] dealings with

the Reagor-Dykes Dealerships, and [his] involvement with the effort to address the status

situation resulting from the defaults by the Reagor-Dykes Dealerships described further

below.” (FMCC App. 2, ¶ 3). Leal’s assertion that his declaration is based upon his

personal knowledge and involvement, however, is simply unfounded. The evidence, in

the form of his own deposition testimony,1 clearly shows that he was not personally

involved in the handling of the alleged fraud at issue, but rather acquired his knowledge

after the fact, based on the statements of others.

        The Federal Rules make clear that for the purpose of summary judgment motions

“[s]upporting and opposing affidavits shall be made on personal knowledge, shall set

forth such facts as would be admissible in evidence, and shall show affirmatively that the

affiant is competent to testify to the matter stated therein.” Fed. R. Civ. P. 56(e).

Similarly, the rules of evidence prohibit a witness from testifying “unless evidence is

introduced sufficient to support a finding that the witness has personal knowledge of the


1
       Leal and several other Ford Credit employees gave limited deposition testimony in
August 2018 prior to a hearing in the bankruptcy court. FMCC’s attorneys instructed the
witnesses on numerous occasions to not answer questions based on relevance to the bankruptcy
hearing. The depositions were conducted by the Reagor-Dykes Auto Group’s bankruptcy
counsel at the time. Counsel for Reagor and Dykes were not entitled to ask any questions
because Reagor and Dykes are not parties to the bankruptcy case. Leal’s limited deposition is in
the appendix. (RD App. 0071-98).


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matter.” Fed. R. Evid. 602.

      In line with this authority, the Fifth Circuit has repeatedly held that affidavit

testimony which is based on inadmissible hearsay is not competent summary judgment

evidence. See Thomas v. Atmos Energy Corp., 223 Fed. Appx. 369, 373 (5th Cir. 2007)

(rejecting argument that affidavits containing hearsay are proper summary judgment

evidence); Burton v. Banta Global Turnkey Ltd., 170 Fed. Appx. 918, 923 (5th Cir. 2006)

(district court cannot consider inadmissible evidence contained in affidavits); Gibson v.

Liberty Mut. Group, 129 Fed. Appx. 94, 95 (5th Cir. 2005) (affidavit reciting affiant

“learned” information contained therein properly stricken as containing legal conclusions

and hearsay not based upon affiant's personal knowledge); Bolen v. Dengel, 340 F.3d

300, 313 (5th Cir. 2003) (affidavit based on information and belief not based on personal

knowledge and fails requirements of summary judgment evidence); Lodge Hall Music,

Inc. v. Waco Wrangler Club, Inc., 831 F.2d 77, 80 (5th Cir. 1987) (factual assertions not

based on personal knowledge do not qualify as competent summary judgment evidence

capable of controverting properly supported facts); Cormier v. Pennzoil Exploration &

Prod. Co., 969 F.2d 1559, 1561 (5th Cir. 1992) (hearsay testimony contained in affidavits

inadmissible and may not be considered).

      While Leal claims to have personal knowledge based on his “dealings with the

Reagor-Dykes Dealerships,” (FMCC App. 2, ¶ 3) he testified that he had absolutely no

interaction or communication with the Reagor-Dykes Auto Group prior to 2018. (RD

App. 74, at 13:21-14:1). In fact, Leal has never had any interaction or communication

with Rick Dykes and has only met Bart Reagor on one occasion:

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              Q.     Well, did you ever talk to Mr. Reagor or Mr. Dykes?

              A.     I met Mr. Reagor, I believe, a few years ago at a dealer grassroots-
                     type meeting in Dallas.

              Q.     Other than that, any other conversations?

              A.     No. No.

              Q.     Any communications with Rick Dykes?

              A.     Never met him.

(RD App. 76, at 23:16-23).

       Additionally, paragraphs 31-41 of Leal’s declaration go into great detail about

FMCC’s investigation of the June 2018 audit, and FMCC’s analysis of the July 2018

emergency audit results. (FMCC App. 7, ¶ 31) (“Ford Credit undertook an analysis of

both the audit results and sales and registration data form the Texas DMV and other

publicly available sources.”); (see id. at ¶ 33) (“Ford Credit determined that the sales

dates reported by the dealerships for one hundred forty-seven (147) of these vehicles did

not match the sales and registration dates reported by the Texas DMV and other publicly-

available sources.”); (id. at ¶ 41) (“On July 26 and 27, 2018 a further audit of the vehicle

inventory at the various Reagor-Dykes Dealerships’ locations revealed that each

dealership was out of trust, having sold vehicles that were subject to Ford Credit’s

security interests without remitting proceeds from those sales to Ford Credit.”). Leal,

however, testified that he was not involved in either audit analysis:

              Q.     All right. Do you recall any involvement of Black Belt in deciding to
                     perform the audit on the 26th and 27th of July?



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             A.      I wasn’t involved with the process, so I -- if you can maybe re-
                     clarify that.

(RD App. 75, at 18:19-23).

Indeed, Leal testified that James Conlan undertook the analysis of the Reagor-Dykes

dealerships, and Leal “do[esn’t] know specifically what they looked at” because he

“wasn’t there.” (RD App. 76, at 24:18-22). As such, Leal’s familiarity with Ford

Credit’s audits of the Reagor-Dykes dealerships is premised entirely on hearsay reports

from James Conlan. (RD App. 75, at 20:11-20). Leal did not deal directly with anyone

at the Reagor-Dykes dealerships regarding the audits.

             A.      So as the audit began, typically the – the AiM folks who complete
                     the audits would – were providing sales dates and copies of
                     documents. Those were then sent to Jim Conlan, who was in the
                     background running DMV’s to verify if those dates were accurate
                     based on the DMV and the other sources that he has.

             Q.      Okay. And who were you dealing with at Reagor-Dykes?

             A.      I wasn’t dealing with anyone.

             Q.      Okay. Was -- was Mr. Byrd dealing with Reagor-Dykes?

             A.      Mr. Byrd was.

             Q.      And who was he dealing with?

             A.      I believe he was -- excuse me. My understanding is, is that he was
                     meeting with the CFO.

(RD App. 76, at 22:13-21).

      Because Leal lacks personal knowledge regarding “The Reagor-Dykes

Dealerships’ Defaults” as outlined in ¶¶ 31-46, his declaration is improper summary

judgment evidence.

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       2.     The legal conclusions in paragraphs 42, 43 and 46 of Leal’s declaration
              are not competent summary judgment evidence.

       Conclusory statements “are not capable of sustaining ... [Plaintiff’s] burden on

summary judgment.” Johnson v. Pointe Coupee Parish Police Jury, 261 Fed. App’x 668,

671 (5th Cir. 2008) (unpublished). “[U]nsupported allegations or affidavits setting forth

ultimate or conclusory facts and conclusions of law are insufficient to either support or

defeat a motion for summary judgment.” Galindo v. Precision Am. Corp., 754 F.2d

1212, 1216 (5th Cir. 1985) (internal quotation omitted); see also Topalian v. Ehrman,

954 F.2d 1125, 1131 (5th Cir. 1992), cert. denied, 506 U.S. 825, 113 S.Ct. 82, 121

L.Ed.2d 46 (1992) (“Mere conclusory allegations are not competent summary judgment

evidence, and they are therefore insufficient to defeat or support a motion for summary

judgment.”); Hanchey v. Energas Co., 925 F.2d 96, 97 (5th Cir. 1990) (“Legal

conclusions and general allegations do not satisfy this burden.”). Such evidence cannot

be considered on summary judgment under Federal Rule of Civil Procedure 56(e).

       Leal’s legal conclusions regarding the Reagor-Dykes Auto Group’s alleged

defaults are not competent summary judgment evidence. (FMCC App. 8, ¶ 42) (“Selling

vehicles out of trust was a violation of the Reagor-Dykes Dealerships’ agreements with

Ford Credit, and constituted a default under the agreements.”); (FMCC App. 9, ¶ 43)

(“Double-flooring vehicles, reporting inaccurate or false sales dates, and flooring vehicles

after they were sold also constituted defaults under those agreement.”); (FMCC App. 8-9;

¶ 46) (“The Failure to make payments to Ford Credit as and when due was a further

default under the Reagor-Dykes’ Dealership’s agreements with Ford Credit. The filing of


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voluntary bankruptcy petitions by the Reagor-Dykes Dealerships is also a default under

those agreements.”). FMCC improperly attempts to establish what constitutes a default

under the agreements between it and Reagor-Dykes Auto Group through the definitive

statements of its employee. This defective evidence fails to satisfy its burden under the

requirements of Federal Rule of Civil Procedure 56(e). Therefore, FMCC’s Motion

should be denied as to liability.

C.      There is a fact issue as to whether the Reagor and Dykes guarantees should
        be discharged.

        Reagor and Dykes attach hereto an affidavit from Timothy Conner (“Conner”), a

certified public accountant who is currently the controller of the Reagor-Dykes Auto

Group, who testifies that FMCC knew or should have known of the out of trust sales by

the Reagor-Dykes Auto Group.2 (RD App. 99-102) This evidence is significant because

out of trust sales are unsecured debt,3 and FMCC’s knowledge and implicit acquiescence

to those sales are an unauthorized modification of the loan agreements that cannot be

enforced through the guaranty.

        Texas law is well settled that a guarantor is discharged by a material alteration of

the underlying contract that lacks the consent of the guarantor and harms the guarantor.

Beal Bank, SSB v. Biggers, 227 S.W.3d 187, 192 (Tex.App.—Houston [1st Dist.] 2007,

no pet.); Austin Hardwoods Inc. v. Vanden Berghe, 917 S.W.2d 320, 325 (Tex. App.-El

2
        Selling out of trust is a phrase commonly used in the automobile industry to refer to the
sale of a car that has been paid for with a loan and then not using the sale proceeds to pay back
the lender.
3
       When the debtor sells the car out of trust and does not repay the loan, the creditor/bank
cannot seize the loan collateral (the car), which makes the debt unsecured.

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Paso 1995, writ denied); see also McKnight v. Va. Mirror Co., 463 S.W.2d 428, 430

(Tex. 1971). A material alteration is an alteration of the underlying contract between a

creditor and principal debtor that either injures or enhances the risk of injury to the

guarantor. United Concrete Pipe Corp. v. Spin-Line Co., 430 S.W.2d 360, 365-66 (Tex.

1968); Fed. Deposit Ins. Corp. v. Attayi, 745 S.W.2d 939, 944 (Tex. App.-Houston [1st

Dist.] 1988, no writ). “If the creditor and the principal debtor vary in any degree the

terms of the contract, then a new contract has been formed, upon which new contract the

[guarantor] is not obligated and cannot, therefore, be bound.” U.S. v. Vahlco Corp., 800

F.2d 462, 465 (5th Cir. 1986). “The assumption underlying this rule is that the guarantor

has carefully assessed the risk to which he will be exposed by undertaking the guaranty.

If the terms of the guaranteed indebtedness are changed, the risks to the guarantor change

as well, and it would be unfair to require the guarantor to assume risks other than those he

chose to assume.” Id.

       To be entitled to discharge from liability on the guaranty, the guarantor must prove

(1) a material alteration of the underlying contract; (2) made without the guarantor's

consent; (3) which is to the guarantor's detriment. Vastine v. Bank of Dallas, 808 S.W.2d

463, 464-65 (Tex. 1991) (per curiam); Byboth v. Wood Ltd. P'ship, No. 05-08-00915-CV,

2009 WL 1416768, at *2 (Tex. App.-Dallas May 21, 2009, pet. denied) (mem. op.).

Further, “the primary concern of the reviewing court is to ascertain the intent of the

parties.” Resolution Trust Corp. v. Northpark Joint Venture, 958 F.2d 1313, 1320 (5th

Cir. 1992). “If the guaranty is ambiguous, then the court must apply the ‘construction

which is most favorable to the guarantor.’ ” Id. (quoting Coker v. Coker, 650 S.W.2d 391,

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394 n. 1 (Tex. 1983)). “The starting point for analyzing the rights and duties of the

parties to a guaranty should be the language of the instrument itself.” Federal Deposit

Ins. Corp. v. Woolard, 889 F.2d 1477, 1480 (5th Cir. 1989).

        Here, the underlying agreements at issue are entitled “Ford Credit Automotive

Wholesale Plan Application for Wholesale Financing and Security Agreement.” (FMCC

App. 14, 29, 39, 112, 125 ,135). The primary purpose of the agreements is to give FMCC

a secured interest in the vehicles (and other property owned by the debtor dealerships)

financed by the debtor dealerships. (FMCC App. 15, 30, 40, 113, 126, 136). As Conner

states, FMCC provided comprehensive automobile inventory financing (“floor plan

financing”) for six of the Reagor-Dykes Auto Group dealerships, and FMCC’s financing

is secured by a blanket lien on most of the assets of those six dealerships, as well as a lien

on certain other Reagor-Dykes Auto Group assets. (RD App. 99, ¶ 2). There is no

discussion of unsecured debt in these agreements, meaning Reagor and Dykes never

agreed to guarantee unsecured debt incurred by the debtor dealerships.

        A key monitoring aspect of FMCC’s floor-plan financing with the Reagor-Dykes

Auto Group is FMCC’s right to conduct quarterly on-site audits of Reagor-Dykes

financial records.4 (RD App. 100, ¶ 4). Those audits are important because it allows

4
        As testified to by Dykes, Shane Smith (“Smith”) was the CFO of the Reagor-Dykes Auto
Group for the past 11 years until August 1, 2018. (RD App. 107, ¶ 4). Smith coordinated and
managed all financing arrangements for the Reagor-Dykes Auto Group, including the FMCC
floor-plan financing. (Id.). Both Reagor and Dykes relied on and trusted Smith to manage all
material financial transactions of the Reagor-Dykes Auto Group and to provide accurate
information regarding those transactions. (Id.). Prior to becoming CFO of the Reagor-Dykes
Auto Group, Smith was an employee of FMCC. (RD App. 107, ¶ 5). Over the past 11 years
while at Reagor-Dykes Auto Group, Smith maintained a close professional and personal
relationship with Gary Byrd, Jr. (“Byrd”), the Dallas Regional Manager of FMCC and the person

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FMCC to verify the accuracy of Reagor-Dykes Auto Group’s financial transactions and

reporting. (Id.). At the conclusion of each such audit, FMCC would advise of any

problems that arose in the audit and the amount of the short-term indebtedness (i.e., debt

payable to FMCC within roughly the following week) that Reagor-Dykes Auto Group

owed to FMCC relating to sales of inventory. (RD App. 100, ¶ 6). For example, at the

conclusion of FMCC’s most recent quarterly audit, in June 2018, FMCC cited no

problems with the audit, complimented Reagor-Dykes Auto Group personnel in

cooperating with the audit, and confirmed the outstanding amount of indebtedness owed

to FMCC from inventory sales was approximately $25 million. (RD App. 100, ¶ 6 and

107, ¶ 7).

       In late July 2018, less than a month after the quarterly June 2018 audit, FMCC

notified Smith that it was undertaking an emergency on-site review of the Reagor-Dykes

Auto Group’s financial records. (RD App. 107-08, ¶ 8). FMCC did not notify Reagor or

Dykers of the emergency audit. (Id.). FMCC declared defaults under its floor-plan

financing agreements with the Reagor-Dykes Auto Group and terminated providing any

further financing under those agreements. (RD App. 109, ¶ 13). FMCC’s employee

Byrd, Smith’s friend and colleague, was on site at the downtown office of the Reagor-

Dykes Auto Group. (RD App. 108, ¶ 10). On Saturday, July 28, 2018, Byrd told Dykes

“Y’all have some big problems,” and told Dykes for the first time that the Reagor-Dykes



primary responsible for overseeing FMCC’s floor-plan financing of the Reagor-Dykes Auto
Group. (Id.). Byrd knew that Smight was responsible for managing the financial transactions
between Reagor-Dykes Auto Group and FMCC and for reporting Reagor-Dykes Auto Group’s
financial information to FMCC. (Id.).

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Auto Group had failed to remit to FMCC a substantial amount of inventory sales

proceeds attributable to FMCC’s floor-plan financing, i.e., the out of trust sales. (RD

App. 108, ¶ 11). Later that morning, Byrd told Dykes that one of the “red flags” that

alerted FMCC that there were problems with the reported sale of Reagor-Dykes inventory

was that Reagor-Dykes Auto Group was “loading” (i.e., reporting) a disproportionately

large number of inventory sales in the week immediately preceding each FMCC quarterly

audit. (RD App. 108, ¶ 12). Dykes was surprised and asked Byrd:

        “How long has this (i.e., the reporting of disproportionately large inventory

sales) going on?”

        Byrd replied: “For quite a while.”

        Dykes asked: “Why weren’t Bart (Reagor) and I notified about this?”

Byrd looked at Dykes with a blank expression and did not immediately respond. After a

pause, Byrd replied, “Well, I did tell Shane (Smith).”5 (RD App. 108-09, ¶ 12).

        Shortly thereafter terminating the financing, FMCC publicly announced that the

reason for its termination of its floor-plan financing agreements was that the Reagor-

Dykes Auto Group had defrauded FMCC by selling over 1,100 vehicles and not remitting

to FMCC over $40 million in sales proceeds attributed to those vehicles as required under

the floor-plan agreements (the “out of trust sales”). (RD App. 100, ¶ 8).


5
       Shane Smith was deposed on August 13, 2018, in relation to the bankruptcy proceeding.
Smith refused to answer any questions relating to the FMCC audits or his relationship with Byrd,
and invoked his Fifth Amendment privilege against self-incrimination. (RD App. 109, ¶ 15).
Two days later, Byrd was deposed in connection with the bankruptcy case. Byrd refused to
answer questions relating to the FMCC audits or his relationship with Smith. (RD App. 109, ¶
16).

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      After August 1, 2018, prompted by the unusual circumstances of the June and July

2018 audits, Conner undertook a review of each FMCC quarterly audit from the final

audit of 2016 through the June 2018 audit. (RD App. 101, ¶ 9-10). Conner concluded

that FMCC representatives involved in the quarterly audits knew or should have known

that the Reagor-Dykes Auto Group regularly owed millions of dollars in out of trust sales

to FMCC in excess of the short term indebtedness of Reagor-Dykes Auto Group

confirmed at the conclusion of each such audit. (RD App. 101, ¶11).

      Conner determined that the value of the inventory that FMCC audits reported

being sold from certain Reagor-Dykes dealerships was a clear signal that FMCC

representatives were either ignoring or allowing out of trust sales. (RD App. 101, ¶12).

Conner cites an example as to why FMCC knew or should have known about the out of

trust sales. At the conclusion of the June 2018 audit, FMCC confirmed that Reagor-

Dykes Floydada owed FMCC approximately $9.4 million from inventory sales payable

within the following week. (RD App. 101, ¶ 12). At that time, the average value of the

entire inventory of vehicles at that dealership was between $9-10 million. (Id.). Conner

confirms that no reasonable interpretation of the data from that audit would conclude that

it was possible that the dealership could have sold vehicles roughly equal to the entire

floor-plan inventory of the dealership in a time frame where the amounts due FMCC

were due within the following week. (Id.). The Reagor-Dykes Floydada situation is but

one example of similar issues that Conner discovered in reviewing the quarterly audits.

(RD App. 101, ¶ 13).



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       The Conner and Dykes affidavits are evidence that FMCC knew or should have

known of the out of trust sales by the Reagor-Dykes Auto Group. FMCC permitted large

amounts of out of trust sales to occur over a long period of time and, through multiple

audits, FMCC effectively altered the financing agreements to implicitly authorize such

sales and create the unsecured obligations. Stated differently, there were “red flags”

everywhere to which FMCC acquiesced.

       By acquiescing to these out of trust sales that turned secured debt into unsecured

debt, FMCC materially altered the terms of the underlying contracts without obtaining

the consent of Reagor and Dykes (and to Reagor and Dykes’ detriment).               Stated

differently, Reagor and Dykes never consented to guarantee unsecured debt created by

the actions of the debtor dealerships and FMCC. (RD App. 110, ¶ 19). Thus, Reagor and

Dykes should be discharged of the guarantees, at least with respect to the out of the trust

sales (which FMCC claims is $41 million). At a minimum, there are ambiguities in the

underlying agreements and guaranty agreements with respect to unsecured debt that

preclude summary judgment, at least with regards to the out of trust sales.

D.     There is a fact issue on the alleged amount owed.

       The Court should also deny FMCC’s Motion with respect to damages, because (1)

FMCC has not properly proved its damages, and (2) there is a genuine fact issue on

damages.

       1.     Rene Leal’s declaration is substantively flawed on damages.

       FMCC relies exclusively on the declaration of Leal to support its damages claim.

(FMCC App. 2-12). Leal’s declaration is substantively flawed, precluding summary

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judgment. The flaws are as follows:

        (1)    Leal’s declaration contains no statement that FMCC actually advanced the

funds that it seeks to recover in this lawsuit (and FMCC’s Appendix contains no other

competent, admissible evidence, testimony or documents, that FMCC provided the

money it seeks to recover). Stated differently, there is no evidence before the Court that

FMCC provided the money to the Reagor-Dykes dealerships that it seeks to recover from

Reagor and Dykes under the guaranties at issue.             Absent such evidence, summary

judgment is improper.6

        (2)    Leal’s declaration also contains no statement as to how he calculated his

damages figures, which precludes summary judgment. For example, in PNC Bank v.

BHMDF, Ltd., a suit to recover on defaulted promissory notes and guaranty agreements,

Chief Judge Lynn denied summary judgment because the creditor did not sufficiently

explain how the amounts were calculated. 2016 WL 5942226 at *3 (N. D. Tex. 2016).

To prove damages, the plaintiff bank submitted an affidavit from a bank vice-president

wherein he swore to the amounts due under the terms of the guaranty contracts that had

not been paid by the guarantor defendants. Id. The Court noted that the affidavit, which

separated the amounts owed into principal, interest, late fees, and miscellaneous fees,

“does not sufficiently explain how the amounts were calculated. PNC does not provide
6
        The agreements at issue are different from the typical guaranteed promissory notes that
contain principal amounts, interest percentages, and due dates. Thus, this is not the typical suit
that provides “fit grist for the summary judgment mill” as often referred to by Federal courts.
See Investor Collection Services Ltd. Partnership v. Thomas, 1998 WL 355469 at *5 (N.D. Tex.
June 26, 1998); FDIC v. Selaiden Builders, Inc., 973 F.2d 1249, 1253 (5th Cir. 1992); FDIC v.
Cardinal Oil Well Servicing Co. ., 837 F.2d 1369, 1371 (5th Cir. 1988); Resolution Trust Corp.
v. Crow, 763 F.Supp. 887, 891 (N.D. Tex. 1991).


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sufficient evidence of how interest or late fees were calculated, or the basis for various

miscellaneous fees.” Id.7

        Leal’s declaration contains even less information than the affidavit involved in the

PNC Bank case. First, there is no explanation as to how the amounts were calculated

(and no supporting documentation). Second, there is no statement concerning the date(s)

of default, which would impact the interest provisions and calculations. Third, there is no

breakdown concerning the amounts allegedly owed, raising the question of whether his

figures consist of principal, late fees, and/or miscellaneous fees, etc. and whether such

fees are even recoverable under the agreements at issue. Leal’s failure to explain his

calculations precludes summary judgment.             See Investor Collection Services Ltd.

Partnership v. Thomas, 1998 WL 355469 at *8 (N.D. Tex. June 26, 1998) (denying

summary judgment where creditor affidavit fails to explain damages calculation and

provides no documents upon which he relied in making calculation).

        (3)    Leal’s declaration also contains no explanation of the pre-default interest

rate charged by FMCC, and the underlying agreements relied on by FMCC do not

establish the pre-default interest rate.8 Rather, the agreements state that:


7
        See also Guerra v. M.H. Equities, Ltd., 2012 WL 2135596 (Tex.App.—Fort Worth 2012)
(reversing summary judgment where it was unclear how creditor calculated amount owed).
8
        FMCC’s proof of claim in the bankruptcy court reflects an interest rate of 5.00%
(variable) whereas Leal’s declaration refers to different interest rates (either 6.5% or 6.75%) for
different dealers. FMCC App. 189, 192, 195, 198, 201, 204, 10-11. These inconsistencies
present a genuine issue of material fact. See FFP Marketing Co., Inc. v. Long Lane Master Trust
IV, 169 S.W.3d 402, 411-12 (Tex.App.—Fort Worth 2005, no pet.) (holding “summary judgment
evidence must establish the applicable rate of interest on a note as a matter of law, otherwise the
movants have failed to meet their summary judgment burden to establish the amount due on the
note.”).

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       Each Advance made by Ford Credit hereunder shall bear interest at the
       rates established by Ford Credit from time to time for Dealer . . . . In
       addition to interest, the financing of Merchandise under the Plan shall be
       subject to service and insurance flat charges established by Ford Credit
       from time to time. Ford Credit shall advise Dealer in writing from time to
       time of any change in the interest rate and service and insurance flat
       charges applicable to Dealer and the effective date of such change.

(FMCC App. 14, 29, 39, 112, 125, 135). There is no evidence in the record that FMCC

gave notice of these interest rates to the debtor dealerships, how such interests rates were

determined, or how or when such interest rates were changed and/or charged. Moreover,

it is unclear whether FMCC is including “service and insurance flat charges” as interest

or claimed damages. Absent such evidence, summary judgment is improper.

       (4)    FMCC also seeks $1,220,000.00 in “expenses” as of December 31, 2018,

and relies solely on Leal’s declaration relating to same. (FMCC App. 12). Leal’s

declaration contains no explanation describing these alleged expenses and there is no

supporting documentation in FMCC’s appendix. Simply put, there is nothing in the

record as to what these “expenses” are or whether they are recoverable. Absent such

evidence, summary judgment must be denied.

       (5)    Leal’s declaration also contains no statement as to payments, credits, or

offsets since August 1, 2018, which also precludes summary judgment. Since that time,

FMCC has received revenue from the debtor dealerships. Reagor and Dykes attach

hereto the affidavit of Lyndon James (“James”), a founding partner of BlackBriar

Advisors, LLC, which is the bankruptcy court approved Chief Restructuring Officer

(“CRO”) to the Reagor-Dykes dealerships in bankruptcy. (RD App. 103-04). James has

worked as part of the BlackBriar team that was also employed to provide CFO services,

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which is the service component he has overseen. (Id.). James testifies that the amount of

$10,359,368 has been paid and/or credited to FMCC by the Reagor-Dykes dealerships

between August 1, 2018 and through January 31, 2019. (RD App. 104, ¶ 5). This

amount is not accounted for in Leal’s declaration. This alone presents a genuine issue of

material fact, precluding summary judgment. See Meecorp Capital Markets LLC v. Tex-

Wave Industries LP, 265 Fed.Appx. 155, 159-60 (5th Cir. 2008) (reversing summary

judgment where trial court did not credit foreclosure sale proceeds to the underlying

debt); Investor Collection Services Ltd. Partnership v. Thomas, 1998 WL 355469 at *8

(N.D. Tex. June 26, 1998) (denying summary judgment where creditor failed to proffer

description of credits applied to debt or an explanation as to how those credits were

obtained).

        2.    The damages are disputed.

        FMCC also takes the position that the Reagor-Dykes Auto Group have admitted

that they collectively owe FMCC at least $109,091,460.95. This is not true.                The

bankruptcy schedules relied on by FMCC simply reflect amounts that FMCC claims are

owed, which are hearsay and not an admission of liability.9 Rule 801(c) of the Federal

Rules of Evidence provides that “hearsay” is an out of court statement offered to prove

the truth of the matter asserted. Rule 802 provides that hearsay is not admissible.

Consistent with the hearsay rule, statements contained in bankruptcy schedules are

9
 `      Federal Rule of Bankruptcy Procedure 1009 provides “A voluntary petition, list,
schedule, or statement may be amended by the debtor as a matter of course at any time before the
case is closed.” Thus, the debtors can amend their schedules to show that the FMCC debt is
disputed, which is consistent with the plan of reorganization filed in the bankruptcy case. (RD
App. 4-63).

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inadmissible. See e.g. Leslie v. Leslie, 181 B.R. 317, 322 (Bankr. N.D. Ohio 1995)

(noting that “the actual truth of the [hearsay] assertions contained in a Debtor’s

bankruptcy schedules cannot be readily ascertained and such assertions are not the proper

subject of judicial notice”); Allred v. Irvine–Hedrick (In re Irvine–Hedrick ), Adv. No.

12–5006, 2012 WL 5728625 at *2, n.7 (Bankr, D.S.D. Nov. 15, 2012) (“If offered for the

truth of the matter asserted, Debtor’s statements—whether in her bankruptcy schedules or

elsewhere ... are hearsay and are not admissible”).

       As the schedules in this context are offered to prove an out of court declaration,

they are inadmissible hearsay for which no exception exists. FMCC seeks to rely on the

schedules as an admission of the debt owed, but FMCC did not produce evidence that it

has personal knowledge of that amount. Thus, the Court should not consider them for the

purpose of determining the amount of damages. See Presta v. Charles Schwab Bank,

N.A. (In re Presta), 3:13-AP-128, 2014 WL 2448444 at *2 (Bankr. M.D. Fla. May 28,

2014) (finding bankruptcy schedules to be inadmissible evidence as to the payoff amount

of bank’s mortgage).

       Additionally, the Reagor-Dykes Auto Group’s Chapter 11 Plan of Reorganization

expressly states that “Ford Credit’s secured claim is disputed” and that “Ford Credit’s

unsecured claim is also disputed.” (RD App. 10).

       Moreover, since August 1, 2018, FMCC has received revenue from the debtor

dealerships. As shown above, from August 1, 2018 through January 31, 2019, the debtor

dealerships have reduced the amount owed to FMCC by $10,359,368. (RD App. 104).

Because these payments/credits are not accounted for in Leal’s declaration, a genuine

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issue of material facts on damages exists. See Meecorp Capital Markets LLC v. Tex-

Wave Industries LP, 265 Fed.Appx. 155, 159-60 (5th Cir. 2008) (reversing summary

judgment where trial court did not credit foreclosure sale proceeds to the underlying

debt); Investor Collection Services Ltd. Partnership v. Thomas, 1998 WL 355469 at *8

(N.D. Tex. June 26, 1998) (denying summary judgment where creditor failed to proffer

description of credits applied to debt or an explanation as to how those credits were

obtained).

      3.     FMCC’s damages will be reduced soon.

      FMCC has not informed the Court that its damages claim will be significantly

reduced soon. On January 25, 2019, FMCC sent a Notice of Private Sale to the Reagor-

Dykes dealerships, Reagor, Dykes, and others that it intends to “sell the following

described property privately sometime after February 11, 2019:

      1.     Equipment, furniture, machinery, demonstrators and service vehicles,

supplies and other goods of every kind.

      2.     Motor vehicles, tractor trailers, implements, service part and accessories,

and other inventory of every kind and any accessions thereto.

      3.     Accounts, instruments, chattel paper, general intangibles, contract rights,

documents and supporting obligation thereto.

      4.     Fixtures located at Debtor’s address and at any other address from which

the Debtor conducts business.”

(RD App. 3, 64-70).



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       The bankruptcy court recently noted that Paul Boudreau, an FMCC employee,

testified that the vehicle inventory has a value of $60-$70 million and that the Reagor-

Dykes dealerships’ schedules state that the value is in the $90 million range. Case 18-

50214-rlj11, Doc. 865, p. 4. Thus, regardless of the actual value, the impending sale of

the collateral will reduce FMCC’s damages by at least more than half (and perhaps up to

3/4's) of the amount it is seeking on summary judgment now. Consequently, there is no

justifiable reason for the Court to enter judgment on damages at this time.

       4.     The case law upon which FMCC relies is distinguishable.

       FMCC relies on four cases to support their damages claim, each of which is

distinguishable and inapplicable here. (Doc. 29, p. 23) FMCC cites Cont’l Illinois Nat.

Bank & Tr. Co. of Chicago v. Windham, 668 F.Supp. 578, 581 (E.D. Tex. 1987) and

Towncreek Industrial, LLC v. Wells Fargo Bank, 2016 WL 6305257 (Tex. App. Fort

Worth 2016, no pet.) for the proposition a creditor may establish the debt owed to it

based on the debtor’s admission as to the amount owed. (Doc. 29, p. 23). In Windham,

the guarantor testified in his deposition that he did not dispute the debt owed to the

creditor by the obligor. Windham, 668 F.Supp. at 581. There is no such evidence in this

case. As shown above, Reagor, Dykes and the debtor dealerships dispute FMCC’s

damages claims. In Towncreek, the debtor judicially admitted an amount owed in its

summary judgment response that was different than the amount claimed by the creditor.

2016 WL 6305257 at *3. There is no such judicial admission here.

       FMCC also relies on Redus TX Properties, LLC v. Gray, 2012 WL 1327787 (S.D.

Tex. 2012) and Stark Master Fund, Ltd. v. Ausmus, 2010 WL 11618653 (N.D. Tex. 2010)

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for the proposition that the creditor’s own and sworn and documentary evidence may

establish the debt owed to it. (Doc. 29, p. 23). Both cases are inapplicable here.

       The affidavit at issue in Redus shows exactly why Leal’s affidavit is deficient in

this case. Redus involved suing a guarantor to collect on a post-foreclosure deficiency

judgment. 2012 WL 1327787 at *1. The affiant, the plaintiff’s vice-president, provided

“detailed proof” as to the principal amount due on the date of the foreclosure, accrued

interest at a certain percentage for a specific time period, default interest at a certain

percentage for a specific time period, detailed miscellaneous fees and expenses, itemized

credits to which the debtor was entitled which reduced the amount owed as of a certain

date and then credited against that sum the proceeds received at the public auction of the

property, resulting in the post-foreclosure debt owed by the guarantor. Id. at *2. The

Court held that such “detailed proof” established the deficiency owed under the note and

guaranty. Id. Leal’s affidavit contains no such “detailed proof.”

       The Ausmus case also reveals why FMCC’s damages proof is insufficient. That

case involved suing a guarantor to collect on a defaulted promissory note. 2010 WL

11618653 at *8.      To prove the debt for summary judgment, the creditor provided

documentation, including accounting records and related documents, that evidenced the

amount owed. Id. FMCC has provided no such documentation or accounting records to

support its claim.

       E.     The Court should defer consideration at this time.

       Reagor and Dykes once again respectfully request the Court to defer consideration

of FMCC’s Motion based on the ongoing bankruptcy proceeding involving the Reagor-

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Dykes Dealerships. The CRO of the debtor dealerships has been working diligently with

bankruptcy counsel to prepare the Chapter 11 Plan of Reorganization for the Reagor-

Dykes Auto Group (the “Plan”), which was filed with the bankruptcy court on or about

January 7, 2019. (RD App. 2, ¶ 3). Negotiations relating to the Plan between all parties

in interest, including the debtor dealerships and FMCC, have continued since the filing of

the Plan.   (Id.).   The debtor dealerships and FMCC (and other key players in the

bankruptcy case) are also scheduled to mediate the bankruptcy case in Dallas, Texas, on

February 25 and 26, 2019. (Id.). FMCC’s claims in this lawsuit will surely be impacted

should the Plan be confirmed and/or whether the case settles at mediation. Moreover, as

shown above, FMCC is in the process of foreclosing on its collateral, as it intends to

conduct a private sale sometime after February 11, 2019, which will further impact this

lawsuit and significantly reduce FMCC’s claimed damages. (RD App. 3, 64-70). Due to

the moving parts in the bankruptcy case and impending foreclosure sale, Reagor and

Dykes respectfully request the Court to defer consideration of the Motion at this time.

       WHEREFORE, PREMISES CONSIDERED, Defendants Bart Reagor and Rick

Dykes respectfully pray that this Honorable Court deny Plaintiff’s Motion for Summary

Judgment, and for such other relief, at law and in equity, to which they may show

themselves justly entitled.




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                            CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing to be delivered to the
following parties in accordance with the Federal Rules of Civil Procedure on February
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